USCA11 Case: 22-11150    Document: 58          Date Filed: 02/09/2023    Page: 1 of 38
                                22-11150

       United States Court of Appeals
                                     for the

                      Eleventh Circuit
IRA KLEIMAN, as the Personal Representative of the Estate of David Kleiman,

                                                                    Plaintiff/Appellant,

                                      – v. –

                            CRAIG WRIGHT,

                                                                  Defendant/Appellee.
                     _____________________________
            APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF FLORIDA
                       CASE NO: 9:18-cv-80176-BB
                            (Hon. Beth Bloom)

             REPLY BRIEF OF APPELLANT
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    USCA11 Case: 22-11150     Document: 58     Date Filed: 02/09/2023   Page: 2 of 38
                       Ira Kleiman v. Craig Wright, 22-11150

                  CERTIFICATE OF INTERESTED PERSONS AND
                  CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Appellate Produce 26.1 and Eleventh Circuit Rule

26.1-1, Appellant IRA KLEIMAN, as the Personal Representative of the Estate of

David Kleiman, respectfully submits the following Certificate of Interested Parties

and Corporate Disclosure Statement:

           1. The Honorable Judge Beth Bloom, U.S. District Judge

           2. Boies Schiller Flexner LLP, Counsel for Plaintiff-Appellant

           3. Brenner, Andrew, Counsel for Plaintiff-Appellant

           4. BTCN 1610-491 LLC (CE)

           5. Cyrulnik, Jason 1

           6. Delich, Joseph, Counsel for Plaintiff-Appellant

           7. Devine Goodman & Rasco, LLP, Counsel for non-party Andrew

              O’Hagan

           8. Economides, Constantine Philip Counsel for Plaintiff-Appellant

           9. Estate of David Kleiman, Plaintiff-Appellant

           10. Fernandez, Amanda Lara, Counsel for Defendant-Appellee

           11. Fernandez, Michael, Counsel for Defendant-Appellee


1
  Former attorney at the firm Freedman Normand Friedland LLP (f/k/a Roche
Freedman LLP), and claims an interest, which Freedman Normand Friedland
disputes, in any fees paid to the firm in connection with this matter.
                                         C-1
    USCA11 Case: 22-11150      Document: 58     Date Filed: 02/09/2023   Page: 3 of 38
                       Ira Kleiman v. Craig Wright, 22-11150

           12. Freedman, Velvel, Counsel for Plaintiff-Appellant

           13. Glaser, Patricia, Counsel for non-party John Doe

           14. Glaser Weil Fink Howard Avchen & Shapiro LLP, Counsel for non-

              party John Doe

           15. Harrison, Laselve, Counsel for Plaintiff-Appellant

           16. *Holtzman, Alexander, Counsel for Plaintiff-Appellant

           17. Kass, Zalman, Counsel for Defendant-Appellee

           18. Kleiman, Ira, Plaintiff-Appellant

           19. Lagos, Stephen, Counsel for Plaintiff-Appellant

           20. Licata, Samantha, Counsel for Plaintiff-Appellant

           21. Lohr, Whitney, Counsel for Defendant-Appellee

           22. *Markoe, Zaharah, Counsel for Defendant-Appellee

           23. McGovern, Amanda Counsel for Defendant-Appellee

           24. Mestre, Jorge, Counsel for Defendant-Appellee

           25. Opportunistic Resources LLC 2

           26. Payne, Darrell Winston, Counsel for non-party John Doe

           27. Pritt, Maxwell, Counsel for Plaintiff-Appellant

           28. Rasco, Guy Austin, Counsel for non-party Andrew O’Hagan


2
 Provided funding to Freedman Normand Friedland LLP (f/k/a Roche Freedman
LLP) at its founding in July 2019 (which post-dated the commencement of litigation
below by more than one year).
                                          C-2
 USCA11 Case: 22-11150       Document: 58        Date Filed: 02/09/2023   Page: 4 of 38
                      Ira Kleiman v. Craig Wright, 22-11150

         29. The Honorable Judge Bruce Reinhart, U.S. District Magistrate Judge

         30. Rivero, Andres, Counsel for Defendant-Appellee

         31. Rivero Mestre LLP, Counsel for Defendant-Appellee

         32. Freedman Normand Friedland LLP, Counsel for Plaintiff-Appellant

         33. Roche, Kyle

         34. Rolnick, Alan, Counsel for Defendant-Appellee

         35. Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A., Counsel

             for non-party John Doe

         36. Wright, Craig, Defendant-Appellee

         37. Zack, Stephen, Counsel for Plaintiff-Appellant

* = no longer involved in representation

      Appellant certifies that no publicly traded company or corporation has an

interest in the outcome of the case of appeal.




                                         C-3
 USCA11 Case: 22-11150                    Document: 58             Date Filed: 02/09/2023               Page: 5 of 38



                                          TABLE OF CONTENTS
                                                                                                                      Page
CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
    DISCLOSURE STATEMENT ....................................................................C-1
TABLE OF AUTHORITIES .................................................................................... ii
I.       Introduction...................................................................................................... 1
II.      The District Court Improperly Instructed the Jury on Partnership
         Formation ......................................................................................................... 2
         A.       The Estate has not waived its objection to the partnership
                  instruction .............................................................................................. 2
         B.       The partnership instruction incorrectly stated current
                  Florida law ............................................................................................. 6
                  1.        The district court’s instruction is inconsistent with
                            the plain statutory language ........................................................ 7
                  2.        Numerous cases and treatises confirm that the district
                            court’s instruction misstated the law. ......................................... 8
                  3.        The Estate is entitled to reversal or at least
                            to certification ........................................................................... 12
III.     The District Judge Abused Her Discretion By Applying An
         Incorrect Legal Standard To Reverse Issue Sanctions the
         Magistrate Judge Imposed Under Rule 37 .................................................... 13
         A.       The District Judge applied an incorrect legal standard that
                  ignores Rule 37’s plain text and syntax, and conflicts with
                  Supreme Court and Eleventh Circuit precedent .................................. 13
         B.       The District Judge’s Order denying a subsequent motion for
                  sanctions pursuant to the Court’s inherent authority does not
                  excuse the Court’s abuse of discretion in applying its own
                  incorrect legal standard ....................................................................... 18
IV.      The District Court Abused Its Discretion In Denying The Estate’s
         Motion For A New Trial Despite Wright’s Multiple, Intentional
         Violations Of The In Limine Order ............................................................... 21
CONCLUSION ........................................................................................................ 25

                                                              i
 USCA11 Case: 22-11150                Document: 58          Date Filed: 02/09/2023           Page: 6 of 38



                                   TABLE OF AUTHORITIES
                                                                                                     Page(s)
Cases:
Cephus v. CSX Transp., Inc.,
     771 Fed. Appx. 883 (11th Cir. 2019) ............................................................ 25
Chicago Truck Drivers, Helpers & Warehouse Workers Union Pension
     Fund v. Bhd. Lab. Leasing,
     166 F.3d 1269 (8th Cir. 1999) ....................................................................... 19
Compaq Computer Corp. v. Ergonome Inc.,
    387 F.3d 403 (5th Cir. 2004) ......................................................................... 17
Cordero v. Transamerica Annuity Serv. Corp.,
     34 F.4th 994 (11th Cir. 2022) .................................................................. 12-13
Davis v. Oasis Legal Fin. Operating Co., LLC,
      936 F.3d 1174 (11th Cir. 2019) ..................................................................... 15
Dreyfuss v. Dreyfuss,
      701 So. 2d 437 (Fla. 3d DCA 1997) ......................................................7, 8, 12
Eric T. v. Nat’l Med. Enterprises, Inc.,
      700 A.2d 749 (D.C. 1997) ............................................................................... 5
Ford ex rel. Est. of Ford v. Garcia,
      289 F.3d 1283 (11th Cir. 2002) ....................................................................... 6
Fuentes v. Classica Cruise Operator Ltd., Inc.,
      32 F.4th 1311 (11th Cir. 2022) ...................................................................... 20
Garcia v. Lee,
     2018 WL 2268129 (S.D.N.Y. May 17, 2018) ................................................. 3
Griffin v. Habitat for Human. Int’l, Inc.,
       641 F. App’x 927 (11th Cir. 2016) .................................................................. 3
Griffith Energy, Inc. v. Evans,
       925 N.Y.S.2d 282 (N.Y. App. 2011) ............................................................. 10
Hammond Packing Co. v. State of Arkansas,
    212 U.S. 322 (1909).................................................................................15, 17

                                                       ii
 USCA11 Case: 22-11150                  Document: 58           Date Filed: 02/09/2023             Page: 7 of 38



Harbaugh v. Greslin,
     436 F. Supp. 2d 1315 (S.D. Fla. 2006), aff’d, 2007 WL 595962
     (11th Cir. 2007) ............................................................................................. 11
Harley-Davidson Motor Co. v. Daniel,
      244 Ga. 284, 260 S.E.2d 20 (1979) ............................................................... 23
Herbert Warren & Assocs., Inc. v. Ramada Inns, Inc.,
     1991 WL 94382 (9th Cir. 1991) ...................................................................... 6
Hillman v. Cannon,
      2011 WL 6670657 (Iowa Ct. App. 2011)........................................................ 9
Hudson v. D.C.,
     558 F.3d 526 (D.C. Cir. 2009) ......................................................................... 3
In re KeyTronics,
       744 N.W.2d 425 (Neb. 2008) ........................................................................ 10
Ingram v. Deere,
     288 S.W.3d 886 (Tex. 2009) ........................................................................... 9
Insurance Corp. of Ireland v. Campagnie des Bauxites de Guinee,
      456 U.S. 694 (1982).....................................................................13, 15, 16, 17
Jackson Nat’l Life Ins. Co. v. Crum,
      25 F.4th 854 (11th Cir. 2022) ........................................................................ 12
Key Brands Int’l Ltd. v. Wilson,
     2019 WL 6622856 (C.D. Cal. Sept. 3, 2019) ................................................ 10
Kislak v. Kreedian,
      95 So.2d 510 (Fla.1957) ..............................................................................4, 7
Marine v. Crown Equip. Corp.,
     1998 WL 171829 (9th Cir. 1998) .................................................................... 5
Mary M. v. City of Los Angeles,
     814 P.2d 1341 (Cal. 1991) ............................................................................... 5
McGregor v. Crumley,
    775 N.W.2d 91 (S. Dak. 2009) ...................................................................... 10
O2 Micro Int’l Ltd v. Beyond Innovation,
     Tech., 2009 WL 2047617 (E.D. Tex. July 10, 2009) .................................... 24

                                                         iii
 USCA11 Case: 22-11150                Document: 58          Date Filed: 02/09/2023           Page: 8 of 38



Peer v. Lewis,
      606 F.3d 1306 (11th Cir. 2010) ..................................................................... 19
Penney v. Penney,
     2021 WL 3828134 (Ala. Aug. 27, 2021)......................................................... 9
Pete’s Towing Co. v. City of Tampa, Fla.,
      378 F. App’x 917 (11th Cir. 2010) ................................................................ 17
Queen v. Schultz,
     747 F.3d 879 (D.C. Cir. 2014) ....................................................................... 10
Rafael J. Roca, P.A. v. Lytal & Reiter, Clark, Roca, Fountain & Williams,
      856 So.2d 1 (Fla. 4th DCA 2003)..............................................................8, 11
Ray v. Ropes & Gray LLP,
      799 F.3d 99 (1st Cir. 2015).............................................................................. 6
Scott v. Dunnam,
       2016 WL 1452413 (S.D. Ga. 2016) .............................................................. 23
SEC v. Yun,
     327 F.3d 1263 (11th Cir. 2003) ..................................................................... 12
Serra Chevrolet, Inc. v. General Motors Corp.,
      446 F.3d 1137 (11th Cir. 2006) ...................................................16, 17, 18, 20
Simmons v. Bradshaw,
     879 F.3d 1157 (11th Cir. 2018) ..................................................................... 12
Thale v. Collector Imports, LLC,
      2008 WL 4386769 (W.D. Ky. Sept. 23, 2008) ............................................. 10
TLC Properties, Inc. v. Pennsylvania Dep’t of Transportation,
     2022 WL 2706104 (M.D. Pa. July 12, 2022) .................................................. 3
U.S. upon rel. of Tenn. Valley Auth. v.
      Easement & Right-of-Way Over 4.42 Acres of Land,
      782 F. App’x 945 (11th Cir. 2019) ................................................................ 17
U.S. v. Twenty-Nine Pre-Columbian and Colonial Artifacts From Peru,
       695 F. App’x 461 (11th Cir. June 2, 2017) ................................................... 14
United States v. Cochran,
      682 F. App’x 828 (11th Cir. 2017) .................................................................. 3

                                                       iv
 USCA11 Case: 22-11150                   Document: 58           Date Filed: 02/09/2023              Page: 9 of 38



United States v. Harris,
      740 F.3d 956 (5th Cir. 2014) ........................................................................... 3
United States v. Hernandez,
      574 F.2d 1362 (5th Cir. 1978) ......................................................................... 3
United States v. Squires,
      440 F.2d 859 (2d Cir. 1971) ............................................................................ 5
Villanueva v. Villanueva,
      2019 WL 6327396 (Conn. Super. Ct. Oct. 30, 2019), aff'd,
      260 A.3d 568 (Conn. App. 2021) .................................................................. 10
Williams v. Obstfeld,
      314 F.3d 1270 (11th Cir. 2002) .................................................................4, 12
Yaffa v. Weidner,
      717 F. App’x 878 (11th Cir. 2017) ..........................................................17, 18
Yusuf v. Hamed,
      2013 WL 5429498 (V.I. 2013) ...................................................................... 10
Statutes and Other Authorities:
Fed. R. Civ. P. 37 ..............................................................................................passim
Fed. R. Civ. P. 37(b)(2)............................................................................................ 17
Fed. R. Civ. P. 37(b)(2)(A) ...................................................................................... 14
Fed. R. Civ. P. 37(b)(2)(A)(i) ...................................................................... 14, 15-16
Fed. R. Civ. P. 37(b)(2)(A)(iii) ................................................................................ 16
Fed. R. Civ. P. 37(c)................................................................................................. 17
Fla. Stat. § 620.8202(3)(c) ......................................................................................... 7
Fla. Stat. § 620.8401(b)(2) ......................................................................................... 8
Fla. Stat. § 620.8401(b)(6) ......................................................................................... 8
2 Discovery Proceedings in Federal Court § 22:14 (3d ed.).................................... 16
59A Am.Jur.2d Partnership § 89 (2d ed. 2015) ....................................................... 11


                                                           v
 USCA11 Case: 22-11150                Document: 58           Date Filed: 02/09/2023           Page: 10 of 38



A. Donn, R. Hillman & D. Weidner, The Revised Uniform Partnership Act
  § 202 (2022-2023 ed.) ......................................................................................7, 11
C. Hurt et al., 1 Bromberg & Ribstein on Partnership (2d ed. 2016) ...................... 11
Scalia & Garner, Reading Law: The Interpretation of Legal Texts (2012) .......14, 15
W. Gregory, The Law of Agency and Partnership § 175 (3d ed. 2001).................. 11




                                                        vi
USCA11 Case: 22-11150         Document: 58       Date Filed: 02/09/2023   Page: 11 of 38



    I.      Introduction

         The parties briefing to date crystallizes the issues for this Court’s

consideration. Specifically, Appellant raised three issues in their initial brief: (1) the

trial court’s instruction on the issue of partnership relied on outdated law, and was

not consistent with Florida’s governing statutory scheme regarding partnership

formation; (2) the trial court erred when it essentially excused Wright’s perjury and

intentional frustration of discovery on one of the central elements of the Estate’s

claims; and (3) the trial court erred in denying the Estate’s Motion for New Trial

based on the intentional, and repeated, violations of the Court’s pretrial ruling on a

Motion in Limine.

         Appellee’s responses to each of these points is remarkably thin on the merits.3

He does not, for example, dispute that the Court’s jury instruction on partnership

relied on law that predated Florida’s adoption of the Revised Uniform Partnership

Act (“RUPA”). He does not dispute that it had been established by the Magistrate


3
  Again straying from the merits of the issues on appeal, Wright asserts in his Facts
section there was no evidence that he and Dave were business partners or that Dave
was involved with Bitcoin. The District Court held otherwise, ECF No. [796]
(“…there is sufficient evidence in the record from which a reasonable jury could
conclude that David Kleiman and Defendant entered into an oral partnership.”). In
reality, there were numerous documents, many from Wright himself, evidencing the
partnership and Dave's involvement in the Bitcoin project. See Opening Br. At 4-5.
Wright dismisses these and numerous other similar documents as merely his effort
to "inflate Kleiman’s accomplishments so he’d be well regarded and long
remembered," Response Br. at 6. That is not credible at all, particularly with respect
to his statements to the police, courts, and other authorities.
                                             1
USCA11 Case: 22-11150         Document: 58       Date Filed: 02/09/2023   Page: 12 of 38



Judge (and adopted by the trial court Judge) that he committed perjury and frustrated

discovery. Nor does he deny that his counsel intentionally elicited evidence which

clearly violated the Court’s Order on the Estate’s Motion in Limine.

         Instead, the main thrust of Appellee’s argument on each of the points above

is that: (1) the Estate did not object clearly enough to the Court’s partnership jury

instruction; (2) Wright’s conduct was not tied closely enough to the central issues in

the case to warrant the remedies fashioned by the Magistrate Judge; and (3) the

Estate did not object enough times to Wright’s counsel’s intentional violations of a

Court Order excluding evidence.

         As set forth below, enough is enough. In addition to the prejudice caused by

the incorrect jury instruction on the central claim in the case, Wright is again asking

the Courts to reward his flouting of the rules. Reversal is warranted.

   II.      The District Court Improperly Instructed the Jury on Partnership
            Formation.

         A. The Estate has not waived its objection to the partnership instruction.

         Wright incorrectly asserts (Response Br. at 18) that the Estate waived its

objection to the jury instructions because, instead of “pressing the district court to

exclude the language it disputed, the Estate invited the court to add certain language

if it kept the instruction.” But an alternative request for lesser relief if the main

request is denied surely does not constitute a “waiver” of the main request. The



                                             2
USCA11 Case: 22-11150        Document: 58       Date Filed: 02/09/2023   Page: 13 of 38



Estate expressly objected to the jury charge defining partnership under pre-RUPA

law. Nothing more was required to preserve the issue for appeal.

      A waiver is a “voluntary, intentional relinquishment of a known right,” and

“the acts, conduct, or circumstances relied upon to show waiver must make out a

clear case.” Griffin v. Habitat for Human. Int'l, Inc., 641 F. App'x 927, 932 (11th

Cir. 2016) (quotations omitted). Waivers are disfavored, and courts “indulge in every

reasonable presumption against waiver.” United States v. Hernandez, 574 F.2d 1362,

1371 (5th Cir. 1978); accord, e.g., TLC Properties, Inc. v. Pennsylvania Dep't of

Transportation, 2022 WL 2706104, at *4 (M.D. Pa. July 12, 2022) (collecting

cases). Even an objection that is “far from a model of clarity” is sufficient to

preserve an issue for appeal, as long as it “adequately informed the district court” of

the issue. United States v. Cochran, 682 F. App'x 828, 835 (11th Cir. 2017); accord,

e.g., United States v. Harris, 740 F.3d 956, 964 (5th Cir. 2014) (although not “a

model of clarity,” objection was “minimally sufficient to alert the court to the

substance of the objection”); Hudson v. D.C., 558 F.3d 526, 533 (D.C. Cir. 2009)

(“inartful” objection sufficient because it was stated with “enough specificity to alert

the district court and opposing counsel to the basis for the objection”). Objections

are “liberally construe[d]” in favor of issue preservation. Garcia v. Lee, 2018 WL

2268129, at *6 (S.D.N.Y. May 17, 2018).




                                            3
USCA11 Case: 22-11150        Document: 58       Date Filed: 02/09/2023   Page: 14 of 38



      In the present case, during summary judgment briefing, the Estate asserted its

position that it did not need to prove all five of the Williams/Kislak elements because

RUPA statutorily overruled the “five required elements” test in favor of a test that

“looks at the parties’ relationship as a whole.” ECF No. [549] at 12-14. The District

Court declined to decide the issue at that time, finding that “under either analysis,

Plaintiffs have demonstrated a genuine dispute of material fact that a partnership

existed between Defendant and Mr. Kleiman.” ECF No. [615] at 54-62.

      The issue resurfaced at the charging conference. Although absent from a prior

set of proposed instructions circulated by the Court, the evening before the

conference the Court circulated a revised instruction (ECF No. [800-1] at 8) that

added the “five required factors” test, based on Williams v. Obstfeld, 314 F.3d 1270

(11th Cir. 2002) and Kislak v. Kreedian, 95 So.2d 510, 515 (Fla.1957), each decided

under pre-RUPA law. The Estate expressly “object[ed] to the new instruction” and

re-asserted its position that “the elements Defendant argues are no longer appropriate

because of RUPA’s defaults.” ECF No. [851] at 10-11; [802-1] at 1. The District

Court asked the Estate’s counsel, “But you would agree that the four factors of the

elements are appropriate to instruct the jury?” Counsel unequivocally answered:

“No. I believe that Williams is pre-RUPA. And so I don't agree.” ECF No. [851] at

11.




                                            4
USCA11 Case: 22-11150       Document: 58       Date Filed: 02/09/2023   Page: 15 of 38



      Wright’s focus on the Estate’s alternative request is misplaced as that request

was made only if the Court rejected its initial position. ECF No. [851] at 11 (“our

position is if Your Honor's going to do those elements, we believe it's appropriate to

also instruct on the presumptions according to RUPA”); ECF No. [802-1] at 1 (“If

the Court is going to keep the new instruction, we would ask that the court include

that you don’t have to intend to form a partnership ... and the relevant RUPA

defaults”).

      A party does not waive an objection to a jury instruction by seeking the best

alternative outcome if the district court overrules its primary objection. See, e.g.,

Marine v. Crown Equip. Corp., 1998 WL 171829 at *2 (9th Cir. 1998) (“acting with

the knowledge that the court intended to give an instruction on misuse, appellant's

submission of alternative instructions does not detract from his original objection”);

United States v. Squires, 440 F.2d 859, 862 (2d Cir. 1971) (same); Mary M. v. City

of Los Angeles, 814 P.2d 1341, 1346 (Cal. 1991) (an attorney who submits to the

authority of an adverse ruling after making appropriate objections “does not waive

the error in the ruling by proceeding in accordance therewith and endeavoring to

make the best of a bad situation”); Eric T. v. Nat'l Med. Enterprises, Inc., 700 A.2d

749, 759 n.20 (D.C. 1997) (“we know of no authority, and the plaintiffs have cited




                                           5
USCA11 Case: 22-11150         Document: 58       Date Filed: 02/09/2023   Page: 16 of 38



none, suggesting that a party's request, in the alternative, ... constitutes a waiver of

the primary contention”). 4

      In sum, the Estate did not waive its argument by seeking the best alternative

outcome after its requested instruction was denied, “endeavoring to make the best of

a bad situation.”

      B. The partnership instruction incorrectly stated current Florida law.

      Conspicuous by its absence in Wright’s brief is any mention at all of RUPA’s

plain language, which is inconsistent with the now defunct “five required elements”

test. Indeed, Wright misstates RUPA’s Uniform Comments which expressly state

that RUPA did change the law on partnership formation. Finally, Wright’s only other

contention is that some post-RUPA cases have mentioned the old Williams/Dreyfuss

elements but, with one exception, none of his cases, from any jurisdiction, involved

the issue whether RUPA modified prior law on partnership formation. Numerous

cases that have adjudicated this issue concluded RUPA changed prior law, and in

light of RUPA’s plain language, no other outcome makes sense.



4
  The “invited error” cases cited by Wright have no similarity to the present case. In
Ford ex rel. Est. of Ford v. Garcia, 289 F.3d 1283, 1293–94 (11th Cir. 2002), “the
court recited its understanding of the proximate cause requirement to which
Appellants' counsel responded in agreement,” so any error was deemed invited. And
there was apparently no pertinent objection at all in Ray v. Ropes & Gray LLP, 799
F.3d 99, 112 (1st Cir. 2015) (appellant just “requested a modification”), or in
Herbert Warren & Assocs., Inc. v. Ramada Inns, Inc., 1991 WL 94382, at *1 (9th
Cir. 1991) (no mention of any objection).
                                             6
USCA11 Case: 22-11150       Document: 58       Date Filed: 02/09/2023   Page: 17 of 38



      1. The district court’s instruction is inconsistent with the plain statutory
         language.

      The district court’s instruction is at odds with RUPA. For example, Fla. Stat.

§ 620.8202(3)(c), states that a partner who “receive[d] a share of the profits of a

business is presumed to be a partner in the business,” subject to certain exceptions

not applicable here.

      Under this rebuttable presumption, if a plaintiff proves he was entitled to

receive a share of the profits of the business – and nothing more – he wins unless the

defendant rebuts the presumption. However, under prior law, and as the Court

instructed here, he would lose summarily, because he failed to prove any duty to

share in losses, any common purpose, any right to control, or any “proprietary

interest.” See Kislak, 95 So.2d 510 (Fla.1957); Dreyfuss v. Dreyfuss, 701 So. 2d 437,

438-39 (Fla. 3d DCA 1997) (“the absence of even one [of the five Kislak factors is]

fatal to the finding of a partnership”). The leading RUPA treatise explains that this

is a “major change[]” from prior law. A. Donn, R. Hillman & D. Weidner, The

Revised Uniform Partnership Act § 202 (2022-2023 ed.). 5


5
  There was ample evidence in this case, much from Wright’s own hand, that he and
Dave agreed that Dave was entitled to a share of the profits. See e.g., P-161 (the
Estate can “cash out right now” for $12 million); P-867 (“Dave and I had a project
in the US…. I am not looking for anything, just that Dave’s estate gets what was in
it”); P-727 (Wright was holding “Founder Shares” on “behalf of the late Dave
Kleiman’s interest in the business”); P-161 (“Dave and I arranged for the sale of
around 500,000 BTC”; “Dave and I decided to start Coin-Exch so that we could lock
in some of the value”; “I convinced [Dave] that we could make it to Oct 2014 when
                                           7
USCA11 Case: 22-11150        Document: 58       Date Filed: 02/09/2023   Page: 18 of 38



      Thus, in Rafael J. Roca, P.A. v. Lytal & Reiter, Clark, Roca, Fountain &

Williams, 856 So.2d 1 (Fla. 4th DCA 2003), the court found sufficient evidence of

partnership without requiring proof of each of the five “required elements.” Wright

objects that Roca “did not expressly criticize” Dreyfuss and other pre-RUPA cases,

but there was no need for the court to do so.

      Wright also incorrectly asserts (Response Br. at 25) that “the

Williams/Dreyfuss factors are merely a stylized version of RUPA’s default

provisions”. The older cases stated that proof of each of the five factors was required

before a jury could properly find the existence of a partnership. The RUPA default

provisions, however, do not require any particular type of proof at all. Instead, they

create certain defaults for written or oral partnership agreements. See Fla. Stat. §

620.8401(b)(2) (profits will be split evenly among partners and losses will be split

in the same proportion as profits); id. § 620.8401(b)(6) (equal rights in the

management and conduct of the partnership). The RUPA defaults replaced the

former requirements of proof.

      2. Numerous cases and treatises confirm that the district court’s instruction
         misstated the law.

      Wright misleadingly asserts (Response Br. at 21-22) that “numerous Florida

federal and state courts” in post-RUPA cases have continued to apply the


if he needed we could take some of the . . . money . . and . . . both spend a little time
on us time.”).
                                            8
USCA11 Case: 22-11150         Document: 58       Date Filed: 02/09/2023   Page: 19 of 38



Williams/Dreyfuss “five required elements” rule. Although it is true that several

courts have cited these older cases by rote, Appellant is not aware of a single federal

or state case where a court 1) squarely faced the question whether RUPA modified

the “five required elements” test and 2) held that this test survives RUPA. Quite the

contrary, with one possible exception (from Iowa), 6 all the many courts that have

addressed this issue have held that RUPA changed the old test.

      For example, the Texas Supreme Court found that while “proof of all five

common law factors was a prerequisite to partnership formation under the common

law,” a “totality-of-the-circumstances test” has replaced it under Texas’s version of

RUPA. Ingram v. Deere, 288 S.W.3d 886, 896 (Tex. 2009). Similarly, the Alabama

Supreme Court has held that under RUPA there is no “arbitrary test,” the court

“looks to all the attendant circumstances in determining the existence of a

partnership,” and the five factors are just “[i]ndicia of the existence of a partnership.”

Penney v. Penney, 2021 WL 3828134, at *5 (Ala. Aug. 27, 2021). Likewise, the

Nebraska Supreme Court has held that, under RUPA the “five indicia of co-

ownership are only that; they are not all necessary to establish a partnership



6
  The only case from any jurisdiction that has even hinted possible disagreement
with this interpretation of RUPA is the unpublished, intermediate appellate decision
in Hillman v. Cannon, 2011 WL 6670657 at *3 (Iowa Ct. App. 2011) Putting aside
the limited precedential value of an intermediate state court decision from outside
Florida, Hillman did not involve the “five required elements” test at all.

                                             9
USCA11 Case: 22-11150        Document: 58      Date Filed: 02/09/2023   Page: 20 of 38



relationship, and no single indicium of co-ownership is either necessary or sufficient

to prove co-ownership….” In re KeyTronics, 744 N.W.2d 425, 441-43 (Neb. 2008).

      Numerous cases from other jurisdictions are in full accord. See, e.g., Queen v.

Schultz, 747 F.3d 879, 886–87 (D.C. Cir. 2014) (whether a partnership exists turns

“less on the presence or absence of legal essentials than on the intent of the parties

gathered from their agreement, conduct, and the circumstances surrounding their

transactions”); McGregor v. Crumley, 775 N.W.2d 91, 97–98 (S. Dak. 2009) (“no

arbitrary test for determining the existence of a partnership”); Villanueva v.

Villanueva, 2019 WL 6327396, at *3 (Conn. Super. Ct. Oct. 30, 2019), aff'd, 260

A.3d 568 (Conn. App. 2021) (“totality of evidence satisfied the test for formation of

a partnership set by statute”); Key Brands Int'l Ltd. v. Wilson, 2019 WL 6622856, at

*11 (C.D. Cal. Sept. 3, 2019) (“it is undisputed that Plaintiff and Defendants agreed

to split the profits [and thus under RUPA] Plaintiff is presumed to be a partner in the

business”); Yusuf v. Hamed, 2013 WL 5429498 *4 (V.I. 2013) (“no single factor is

determinative, necessary to examine the ... relationship as a whole”) (quotation

omitted); Griffith Energy, Inc. v. Evans, 925 N.Y.S.2d 282, 283 (N.Y. App. 2011)

(“No one factor is determinative; it is necessary to examine the ... relationship as a

whole”); Thale v. Collector Imports, LLC, 2008 WL 4386769, at *3 (W.D. Ky. Sept.

23, 2008) (“no particular test” for existence of a partnership).




                                          10
USCA11 Case: 22-11150        Document: 58       Date Filed: 02/09/2023   Page: 21 of 38



      The leading treatises all agree with these decisions. See C. Hurt et al., 1

Bromberg & Ribstein on Partnership 2.04[A], 2.06[A] (2d ed. 2016) (“According to

R.U.P.A, neither profit sharing nor control … is necessarily sufficient or absolutely

necessary”); 7 Donn, Hillman & Weidner, supra at § 202 (RUPA provision making

profit sharing a rebuttable presumption was a “major change” in the law); W.

Gregory, The Law of Agency and Partnership § 175 (3d ed. 2001) (RUPA replaces

the older UPA “with some modifications,” specifically “profit sharing creates a

rebuttable presumption of partnership rather than the older language of prima facie

evidence” and “any one factor is not conclusive”); 59A Am.Jur.2d Partnership § 89

(2d ed. 2015) (partnership existence determined by the “totality of the attendant facts

and circumstances”).

      No authority cited by Wright even remotely suggests that any party raised, or

any court considered, whether RUPA modified prior law mandating a “five required

factors” test. In Wright’s primary case, Harbaugh v. Greslin, 436 F. Supp. 2d 1315

(S.D. Fla. 2006), aff’d, 2007 WL 595962, at *1 (11th Cir. 2007), the court cited



7
  See also id. 2.06[B][2] (it is “not strictly true” that profit sharing is necessary for
the existence of a partnership); id. 2.06[C][2] (“it is clear that one may be a partner
without exercising control”); id. 2.06[D][2] (partnership may exist even if no sharing
of losses); id. 2.06[E][2] (lack of capital contribution is “inconclusive”); id.
2.06[F][1] (lack of joint title to partnership property is “inconclusive”); id. 2.07[B]
(in light of RUPA presumption, if proponent of partnership simply introduces
evidence of profit sharing, he is “probably entitled to a directed verdict” that a
partnership exists if his opponent fails to introduce evidence against partnership).
                                           11
USCA11 Case: 22-11150        Document: 58        Date Filed: 02/09/2023     Page: 22 of 38



Dreyfuss and Williams for the proposition that “all” of the five factors must be

proved before a partnership may be found to exist, but neither the parties nor the

courts raised or alluded to any issue regarding whether the “five required elements

test” survived the enactment of RUPA. See 2005 WL 4123175 (plaintiff’s district

court brief); 2006 WL 4877254 (plaintiff’s appellate brief). The same is true for

every other case cited by Wright.

      3. The Estate is entitled to reversal or at least to certification.

      Wright does not dispute that if the District Court’s instruction incorrectly

required the jury to find all five “required elements,” the Estate was prejudiced, and

the judgment below must be reversed. See Simmons v. Bradshaw, 879 F.3d 1157,

1162 (11th Cir. 2018) (new trial required if instruction at the least induced “a

substantial and ineradicable doubt as to whether the jury was properly guided in its

deliberations”); SEC v. Yun, 327 F.3d 1263, 1282 (11th Cir. 2003) (new trial if

instruction “erroneous and prejudicial”).

      If this Court has any “substantial doubt” whether RUPA changed this point of

Florida law, at the least, the issue should be referred to the Florida Supreme Court

for definitive resolution. Jackson Nat'l Life Ins. Co. v. Crum, 25 F.4th 854, 862 (11th

Cir. 2022) (“Under our precedent, we should certify questions to the state supreme

court when we have substantial doubt regarding the status of state law”) (quotations

omitted); Cordero v. Transamerica Annuity Serv. Corp., 34 F.4th 994, 999 (11th Cir.


                                            12
USCA11 Case: 22-11150       Document: 58      Date Filed: 02/09/2023   Page: 23 of 38



2022) (same). The Estate submits that RUPA is sufficiently clear for this Court to

reverse the decision below on its own, but if there is any doubt, the Court should

certify the issue.

   III.   The District Judge Abused Her Discretion By Applying An Incorrect
          Legal Standard To Reverse Issue Sanctions the Magistrate Judge
          Imposed Under Rule 37.

       A. The District Judge applied an incorrect legal standard that ignores
          Rule 37’s plain text and syntax, and conflicts with Supreme Court and
          Eleventh Circuit precedent.

       Wright argues that the District Judge got it right when she held that issue

sanctions cannot be imposed under Rule 37 unless they “cure” the “discovery

abuse.” ECF No. [373] at 20; see Response Br. at 31-35 & 34 n. 26 (arguing courts

can only deem established facts with “a clear nexus” to the “discovery abuse” or

“derelictions”). But that is not the standard. In Insurance Corp. of Ireland v.

Campagnie des Bauxites de Guinee, the Supreme Court held that Rule 37 authorized

courts to deem facts established so long as they are related to the ultimate issue or

“claim” the moving party seeks to establish through the discovery at issue. 456 U.S.

694 (1982). Here, that issue or “claim,” as both the Magistrate Judge and the District

Judge found, was the existence of a partnership between Wright and David Kleiman,

and the provenance/ownership in its assets. ECF No. [277] at 27; [311] at 21; [373]




                                         13
USCA11 Case: 22-11150         Document: 58     Date Filed: 02/09/2023   Page: 24 of 38



at 20. The Deemed Facts 8 clearly related to those claims, and thus were proper under

the correct legal standard.

      That standard—not the restrictive one applied by the District Judge—is also

consistent with this Court’s interpretation of Rule 37 to give courts broad discretion

“to fashion sanctions against parties who fail to engage in discovery . . . or otherwise

disobey court orders.” U.S. v. Twenty-Nine Pre-Columbian and Colonial Artifacts

From Peru, 695 F. App’x 461, 466 (11th Cir. June 2, 2017).

      The plain text of Rule 37 conflicts with the legal standard advocated by

Wright and adopted by the District Judge. As a sanction for not obeying a discovery

order, Rule 37(b)(2)(A) authorizes district courts to issue “just orders,” which

include directing that matters embraced in the discovery order (ECF No. [277]) or

other designated facts be taken as established for purposes of the action, as the

prevailing party claims[.]” Fed. R. Civ. P. 37(b)(2)(A)(i) (emphasis added). Plainly,

a court’s ability to deem established “designated facts” other than those “embraced

in the order” means those facts necessarily would not cure the specific “discovery

violations.” See Scalia & Garner, Reading Law: The Interpretation of Legal Texts

(2012), (“Under the conjunctive/disjunctive canon, and combines items while or



8
  The Deemed Facts were that (i) a 50/50 partnership existed between Wright and
David Kleiman; (ii) Bitcoin-related intellectual property developed by Wright, if
any, and bitcoin mined by Wright, if any, were property of that partnership; and (iii)
the Estate retained an ownership interest in that property. ECF No. [277] at 28-29.
                                          14
USCA11 Case: 22-11150       Document: 58      Date Filed: 02/09/2023   Page: 25 of 38



creates alternatives.”) (emphasis in original). Indeed, if issue sanctions had to cure

the specific discovery violations at issue, then the reference to “other designated

facts” would have no apparent meaning apart from “matters embraced in the order,”

and thus violate the surplusage cannon. See Davis v. Oasis Legal Fin. Operating

Co., LLC, 936 F.3d 1174, 1180 (11th Cir. 2019) (explaining that this Court

“disfavor[s]” interpretations that render clauses “meaningless, redundant, or mere

surplusage”) (quotation marks omitted); see also Scalia & Garner, supra, at 174.

      If Appellee’s argument were correct, Insurance Corp. of Ireland also would

have come out the other way. There, the specific discovery violation was the

defendant’s failure to produce business interruption insurance policies, and the

issue/claim deemed established was the existence of contacts with Pennsylvania

sufficient to establish personal jurisdiction over the defendant. See id., 456 U.S. at

698. Under Wright’s and the District Judge’s standard, that issue sanction would

have been improper “because the amount of [contacts] by the Defendant remain[ed]

unknown, or at the very least, [was] still at issue.” ECF No. [373] at 20. But as the

Supreme Court and this Court has explained, that is not the standard; rather,

consistent with Rule 37’s text, the proper standard simply “reflects the rule of

Hammond Packing Co. v. State of Arkansas, 212 U.S. 322 (1909),” i.e., that the facts

deemed establish relate to the ultimate issue or “claim” the party “was seeking to

establish through discovery.” Insurance Corp of Ireland, 456 U.S. at 709. Rule


                                         15
USCA11 Case: 22-11150        Document: 58      Date Filed: 02/09/2023   Page: 26 of 38



37(b)(2)(A)(i)’s text makes this clear in including both “other designated facts” and

the clause “as the prevailing party claims.” See Fed. R. Civ. P. 37, Notes of Adv.

Committee on Rules—1937 (explaining Rule 37 is “in accord with Hammond

Packing”); see 2 Discovery Proceedings in Federal Court § 22:14 (3d ed.) (“The

facts that will be taken as established typically related to allegations in a complaint

or an answer to a complaint. . . . However, facts relating to claims contained in a

motion may also be taken as established.”).

      Wright incorrectly argues that this Court’s decision in Serra Chevrolet, Inc.

v. General Motors Corp., 446 F.3d 1137, 1152 (11th Cir. 2006), and two later

unpublished decisions, adopted a legal standard limiting courts’ ability to impose

sanctions under Rule 37 to those with a “nexus between the documents the court

ordered produced and the magistrate’s sanction.” Response Br. at 32-33. But Serra

Chevrolet says nothing of the sort. It just applied Insurance Corp. of Ireland,

holding that affirmative defenses (of res judicata, issue preclusion, judicial estoppel,

and law of the case) the trial court struck in that case “had no apparent relationship

with the discovery” at issue (failing to produce information about satellite car

dealerships and vehicle allocation data), which was relevant only to the plaintiffs’

causes of action, not the affirmative defenses. 9 Serra Chevrolet, 446 F.3d at 1141-



9
  Also, unlike here, Serra Chevrolet involved Rule 37(b)(2)(A)(iii) sanctions, and
the trial court imposed them sua sponte.
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USCA11 Case: 22-11150        Document: 58       Date Filed: 02/09/2023   Page: 27 of 38



42, 1152. Thus “the legal defenses were not ‘specifically related to the particular

“claim” which was at issue in the order to provide discovery.’” Id. (quoting Ins.

Corp. of Ireland, 456 U.S. at 707); accord Compaq Computer Corp. v. Ergonome

Inc., 387 F.3d 403, 414 (5th Cir. 2004) (Rule 37(b)(2) sanction of deeming an entity

an alter ego of defendant was “specifically related” to the “‘claim’ at issue in

Compaq’s repeated discovery requests” given that the “[t]he purpose of the

discovery . . . was to discover facts that would support a finding of alter ego”). 10 The

two unpublished cases Wright cites (U.S. upon rel. of Tenn. Valley Auth. v. Easement

& Right-of-Way Over 4.42 Acres of Land, 782 F. App’x 945, 948–49 (11th Cir.

2019) and Pete’s Towing Co. v. City of Tampa, Fla., 378 F. App’x 917, 920 (11th

Cir. 2010)) are even further afield; they involved sanctions under Rule 37(c), and

only cite Serra Chevrolet for the standard of review on appeal.

      Yaffa v. Weidner, on the other hand, cited in the Estate’s Opening Brief, did

discuss Serra Chevrolet and explained it required only that Rule 37 sanctions “have

some rationale and some connection to the sanctioned conduct” to comport with due

process, consistent with the text of Rule 37, Hammond Packing, and Insurance Corp.

of Ireland. See Yaffa v. Weidner, 717 F. App’x 878, 885 (11th Cir. 2017). Wright



10
   Serra Chevrolet used the word “nexus” just once, when quoting the defendant’s
argument on appeal that there was “absolutely no nexus” between discovery at
issue and the sanctions, i.e., the affirmative defenses that were entirely unrelated to
the plaintiff’s claims. Serra Chevrolet, 446 F.3d at 1152.
                                           17
USCA11 Case: 22-11150       Document: 58      Date Filed: 02/09/2023   Page: 28 of 38



tries to distinguish Yaffa because it involved monetary sanctions under Rule 16 and

“not a case-ending ‘issues sanction’ under Rule 37,” but he fails to explain how

either has any bearing on Yaffa’s discussion of Serra Chevrolet. It does not. Wright

similarly tries to distinguish some (but not all) of the decisions by other Circuits

cited in the opening brief that contradict the legal standard applied by the District

Judge here (see Response Br. at 37), on the grounds that the sanction at issue “did

not amount to a default judgment.” Response Br. at 34. But the Deemed Facts in

no way “amount[ed] to a default judgment” against Wright on any of Plaintiffs’

causes of action – indeed, he even still had some affirmative defenses remaining. It

is also irrelevant because Rule 37 authorizes courts to render defaults judgments

against disobedient parties like Wright. The only difference is that such “severe”

sanctions require a finding of willfulness or bad faith, which the Magistrate Judge

also found here. See ECF No. [277] at 27.

      B. The District Judge’s Order denying a subsequent motion for sanctions
         pursuant to the Court’s inherent authority does not excuse the Court’s
         abuse of discretion in applying its own incorrect legal standard.

      Wright’s only response to the Estate’s argument that the District Judge also

abused her discretion by ignoring or misunderstanding that the evidence established

that her own incorrect legal standard was met, is (1) he is not aware of any Circuit

case holding that a district court abused its discretion “in declining to impose case-

ending issue sanctions,” and (2) any abuse of discretion is irrelevant because the


                                         18
USCA11 Case: 22-11150        Document: 58      Date Filed: 02/09/2023   Page: 29 of 38



District Judge “considered this issue . . . [a] second time” in denying a subsequent

motion for sanctions. Response Br. at 28, 35-36. The former is merely a straw man,

and the latter is incorrect and thus irrelevant. None of the Deemed Facts were “case-

ending,” and a quick search reveals decisions by both this Court and other Circuits

that held district courts abused their discretion in denying sanctions. See, e.g., Peer

v. Lewis, 606 F.3d 1306 (11th Cir. 2010); Rowe, 703 F. App’x at 780; Chicago Truck

Drivers, Helpers & Warehouse Workers Union Pension Fund v. Bhd. Lab. Leasing,

166 F.3d 1269, 1270 (8th Cir. 1999). Further, the District Court did not “reject for

a second time” (Response Br. at 28) the Rule 37 sanctions at issue here. Plaintiffs

subsequently moved for default sanctions or, alternatively, lesser sanctions including

deeming established certain facts (similar but not identical to the Deemed Facts),

under the Court’s inherent authority, not Rule 37, and for Wright’s perjury, forgeries,

and judicial abuse “since the Objections Order was entered,” not just Wright’s

conduct at issue in the Rule 37 motion. ECF No.[507]; [595] at 2, 19, 36. 11 Wright

otherwise does not address the evidence in the Opening Brief showing the District

Court abused its discretion by ignoring or misunderstanding that evidence, on which

the Magistrate Judge based his decision, in holding that the Deemed Facts did not



11
  Wright refers repeatedly to the fact that the Court’s order denying Plaintiffs’
motion for default sanctions was 39 pages. Response Br. at 15, 36. In addition to
being irrelevant, 33 pages set forth Wright’s misconduct and the parties’ arguments
about it, and three pages set forth the legal standards. See ECF No. [595] at 1-35.
                                          19
USCA11 Case: 22-11150        Document: 58      Date Filed: 02/09/2023   Page: 30 of 38



specifically relate to the discovery issues that were pending before the Magistrate

Judge. See Response Br. at 42-43; ECF [277] at 27-28 (finding Wright’s failure to

comply with discovery orders “prevented Plaintiffs from obtaining evidence that the

Court found relevant to Plaintiffs’ claim that Dr. Wright and David Kleiman formed

a partnership to develop Bitcoin technology and to mine bitcoin,” and that “Plaintiffs

have also been prejudiced by not being able to try to trace the bitcoin that was

mined”). For those reasons, the District Court’s application of its own incorrect legal

standard was an abuse of discretion and must be reversed. See e.g., Fuentes v.

Classica Cruise Operator Ltd., Inc., 32 F.4th 1311, 1321 (11th Cir. 2022) (abuse of

discretion where district court’s decision concerning whether to impose sanctions

“constitute[s] a clear error of judgment”); Serra Chevrolet, 446 F.3d at 1147 (abuse

of discretion where district court “ignores or misunderstands the relevant evidence,

and bases its decision upon considerations having little factual support”).

      Finally, the Court also should vacate the judgement and remand for a new trial

for the separate reason that Wright does not dispute the Estate’s alternative argument

that, at the very least, the District Court should have given a spoliation instruction

(see Opening Br. at 44).




                                          20
USCA11 Case: 22-11150        Document: 58       Date Filed: 02/09/2023   Page: 31 of 38



     IV.   The District Court Abused Its Discretion In Denying The Estate’s
           Motion For A New Trial Despite Wright’s Multiple, Intentional
           Violations Of The In Limine Order.

       In his Response, Wright does not deny that his attorney’s questions were

purposeful in injecting the sibling relationship 12 into the trial. Nor does he deny that

the Court had excluded this evidence in a pretrial Order granting Plaintiff’s motion

in limine of the issue. Yet, Wright advances a tortured reading of the Court’s pretrial

in limine Order to excuse this obvious misconduct. 13

       Specifically, Wright argues that the Court’s Order did not need to be followed

because it was “preliminary” and open to reconsideration during trial. In support,

he cites the Order stating “[A]ny party may seek reconsideration at trial in light of

the evidence actually presented and shall make contemporaneous objections when

evidence is elicited.” ECF No. [623] at 3. Wright interprets this to mean that the




12
  See Response Br. at 49 (“These two questions did not violate the order in limine
because they were asked for a proper purpose…”).
13
   In addition to violating the MIL to impugn the character of Ira Kleiman,
Wright’s counsel used testimony he knew or should have known to be false to label
Ira as a liar to the jury. See e.g., ECF No. [820], [848], P-767; ECF No. [851] at
162. Specifically, Wright’s counsel solicited testimony from Dave’s friend that they
never discussed bitcoin even though that testimony contradicted a sworn declaration
they had the friend execute, the friend’s deposition testimony, and the friend’s own
emails. See e.g., id. Then in closing, they told the jury that Ira was lying about these
very same discussions. ECF No. [851] at 162.


                                           21
USCA11 Case: 22-11150        Document: 58      Date Filed: 02/09/2023   Page: 32 of 38



Order entitled his counsel, as they did multiple times at trial, to ask any question

they wanted because the onus is on the other party to object even if it violates an

existing Court Order. This, of course, turns the whole purpose of an in limine ruling

on its head.

      Plaintiffs moved, pretrial, for an Order precluding Defendant from

introducing evidence of the sibling relationship between Ira and David Kleiman.

Plaintiff did so because the issue was legally irrelevant, and would undoubtedly

cause severe prejudice to the Plaintiffs. The Court agreed, unequivocally and

definitively granting the Estate’s motion. Specifically, the Court held that “evidence

about Ira Kleiman’s sibling-relationship with Mr. Kleiman is excluded except as to

the Thanksgiving Day 2009 dinner conversations.” See Order, ECF No. [623] at 15.

Nevertheless, Defendant elected to treat the Court’s Order as merely advisory and

repeatedly violated it, apparently because he had concluded that this irrelevant,

unduly prejudicial evidence was “essential” 14 to his defense. 15

      The Court’s in limine Order was clear and it was final. While it is true that it

did allow a party to ask the Court to reconsider it during trial, it ordered that it be

done by way of a proffer outside the presence of the jury. Id. (“any party may seek


14
   See Response Br. at 49.
15
   Defendant appears to excuse his counsel’s behavior arguing that he intentionally
violated the Court’s pretrial ruling only 8 times. The undersigned is aware of no law
that allows a party to purposely violate a Court Order, so long as they do so less than
9 times.
                                          22
USCA11 Case: 22-11150        Document: 58      Date Filed: 02/09/2023   Page: 33 of 38



reconsideration at trial in light of the evidence actually presented…“The court will

entertain objections on individual proffers as they arise at trial, even though the

proffer falls within the scope of a denied motion in limine.”).

      Relatedly, Wright places great weight on the fact that certain questions did

not elicit any testimonial evidence from the witness. Response Br. at 46-47. He

argues that because the prohibited questions, without answers, were not technically

evidence, the questions could not have prejudiced the verdict because the jury was

not permitted to rely upon or consider them. This line of thinking would allow for

counsel to ask any question it wants regardless of the Court’s rulings because only

the witnesses’ answer has the potential to violate the Order. 16 However, a question

alone, regardless of its response, can violate a motion in limine and prejudice a party

during trial. See e.g., Harley-Davidson Motor Co. v. Daniel, 244 Ga. 284, 285, 260

S.E.2d 20, 22 (1979) (“The purpose in filing a motion in limine . . . is to prevent the

asking of prejudicial questions . . . It is the prejudicial effect of the questions

asked or statements made in connection with the offer of the evidence, not the

prejudicial effect of the evidence itself, which the motion in limine is intended


16
  In support of this notion, Wright cites Scott v. Dunnam 2016 WL 1452413, at *4
(S.D. Ga. 2016). This case, however, does not stand for the proposition that without
an answer, there cannot be prejudice. Rather, the Court here held that it was able to
“halt the line of questioning” before any questions were asked that clearly violated
the motion in limine. The initial question that was asked, which was whether the
Plaintiff loved his children, was not enough for the jurors to connect this to the
excluded topic of Plaintiff’s prior sexual assault convictions.
                                          23
USCA11 Case: 22-11150        Document: 58      Date Filed: 02/09/2023   Page: 34 of 38



to reach.”) (emphasis added); O2 Micro Int'l Ltd v. Beyond Innovation Tech., 2009

WL 2047617, at *2 (E.D. Tex. July 10, 2009) (question posed violated order in

limine and was intended to cause prejudice).

      Indeed, many of Wright’s counsel’s questions contained exactly the evidence

the Court ruled should not be presented to the jury. For example, in just two

questions (that were unanswered due to the Estate’s sustained objections), Wright’s

counsel communicated to the jury that Ira Kleiman did not see his brother for years

and rarely spoke to him on the phone (Q: Let me restate the question. The last time

you saw your brother was in 2009?” ECF No. [840] 23:12-24:1; Q: …Would you

agree with me that between March 12 and April 7th, 2013, on the cell phone at least,

you spoke with David Kleiman six times?” ECF No. [841] at 68:7-21). These

questions, regardless of their answers or lack thereof, were in direct violation of the

Court’s Order and prejudiced the Estate (and undoubtedly the reason they were

asked).

      Lastly, Wright argues that because the Estate “made a tactical decision” not

to object to certain questions so as to not direct the jury’s attention to the improper

questions, it must sit with the consequences of that choice. Yet again, Wright shifts

the blame to the Estate for his counsel’s purposeful violation of the Order. Within

the first few questions of Ira Kleiman’s cross-examination, Wright’s counsel

introduced the sibling relationship (see Opening Br. at 12). Even though the Estate


                                          24
USCA11 Case: 22-11150       Document: 58       Date Filed: 02/09/2023   Page: 35 of 38



immediately objected both times, the objections were overruled and the request for

a side-bar was denied without any explanation. Counsel for the Estate was then

forced to make strategic choices to manage Wright’s counsel’s abuse of the Order

with the somewhat unpredictable rulings from the Court, all while not drawing the

jury’s attention to the very thing it wanted to keep out. This is not a burden the

Estate should bear, and the Estate has not “waived its right to complain.” 17

                                  CONCLUSION

      For the reasons stated above and in our Opening Brief, the judgment below

against the Estate should be reversed, and the case should be remanded for a new

trial on the Estate’s claims against Wright.




17
   Wright cites to Cephus v. CSX to say that a party’s failure to object should not be
excused on the basis that an objection would draw attention to the misconduct. That
is not the holding of this case. Instead, Cephus exemplifies the rule that an issue
may be preserved without objection where the party has made its position clear, and
a further objection would be futile. Cephus v. CSX Transp., Inc., 771 Fed. Appx.
883, 894-95 (11th Cir. 2019).
                                          25
USCA11 Case: 22-11150   Document: 58    Date Filed: 02/09/2023   Page: 36 of 38


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                                   26
USCA11 Case: 22-11150      Document: 58      Date Filed: 02/09/2023   Page: 37 of 38



                       CERTIFICATE OF COMPLIANCE


      This brief complies with the type-volume limitations of Fed. R. App. P.

32(a)(7)(B) as the brief contains 6,490 words, excluding those parts exempted by

11th Cir. Local R. 32-4.

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and the type style requirements of Fed. R. App. P. 32(a)(6) as this brief has been

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                                               /s/ Devin (Velvel) Freedman




                                        27
USCA11 Case: 22-11150        Document: 58      Date Filed: 02/09/2023   Page: 38 of 38



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                                          28
